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             United States Court of Appeals
                          For the First Circuit


 No. 20-1748

   VICTIM RIGHTS LAW CENTER; EQUAL RIGHTS ADVOCATES; LEGAL VOICE;
     CHICAGO ALLIANCE AGAINST SEXUAL EXPLOITATION; JANE DOE, an
    individual by and through her mother and next friend Melissa
  White; ANNE DOE; SOBIA DOE; SUSAN DOE; JILL DOE; NANCY DOE; LISA
                                DOE,

                          Plaintiffs, Appellees,

                                      v.

  PHIL ROSENFELT, in his official capacity as Acting Secretary of
  Education,* SUZANNE GOLDBERG, in her official capacity as Acting
  Assistant Secretary for Civil Rights,** UNITED STATES DEPARTMENT
                            OF EDUCATION,

                          Defendants, Appellees.



     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION, INDEPENDENT
                    WOMEN'S LAW CENTER, SPEECH FIRST, INC.,

                    Putative Intervenors, Appellants.


             APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

             [Hon. William G. Young, U.S. District Judge]



       *Pursuant to Fed. R. App. P. 43(c)(2), Acting Secretary of
 Education Phil Rosenfelt has been substituted for former
 Secretary of Education Elisabeth DeVos.

        Pursuant to Fed. R. App. P. 43(c)(2), Acting Assistant
       **

 Secretary for Civil Rights Suzanne Goldberg has been substituted
 for former Assistant Secretary for Civil Rights Kenneth Marcus.
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                                   Before

                     Lynch and Selya, Circuit Judges,
                     and Laplante,*** District Judge.


      Alexa R. Baltes, with whom Charles J. Cooper, Brian W. Barnes,
 Cameron T. Norris, Tiffany H. Bates, Patrick Strawbridge, Cooper
 & Kirk, PLLC, and Consovoy McCarthy PLLC were on brief, for
 appellants.
      Michael F. Qian, with whom Natalie A. Fleming Nolen, David A.
 Newman, James R. Sigel, Emily Martin, Neena Chaudhry, Sunu Chandy,
 Shiwali G. Patel, Elizabeth Tang, Diane L. Rosenfeld, and Morrison
 & Foerster LLP were on brief, for appellees.


                             February 18, 2021




       ***   Of the District of New Hampshire, sitting by designation.
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              Laplante,       District      Judge.         The    question     in    this

 interlocutory appeal is whether the district court abused its

 discretion in denying both intervention as of right and permissive

 intervention to the Foundation for Individual Rights in Education,

 Independent        Women's    Law     Center,       and     Speech      First,     Inc.

 (collectively,       the     "movants"      or    "movant-intervenors")            under

 Federal Rule of Civil Procedure 24(a)(2) and (b)(1)(B).

              The suit underlying the appeal involves a challenge to

 the   U.S.   Department       of   Education's      recent       promulgation      of   a

 regulation that sets the standard for actionable sexual harassment

 for   administrative       enforcement       of   Title     IX    of   the    Education

 Amendments of 1972, 20 U.S.C. § 1681(a), and provides additional

 procedural protections to students accused of sexual harassment.

 The plaintiffs are appellees here defending the district court's

 decision.    Acting Secretary Rosenfelt, Acting Assistant Secretary

 Goldberg, and the Department of Education (collectively, "the

 government") are the named defendants in the suit.                     The government

 has taken no position on the issue of intervention and did not

 participate in either the briefing or the oral argument in this

 appeal.

              The    Foundation      for    Individual      Rights      in    Education,

 Independent Women's Law Center, and Speech First, Inc. moved to

 intervene for the purpose of arguing that the First Amendment

 requires a standard for actionable "sexual harassment" that is at

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 least as narrow as the definition provided in the new regulation

 and that the Fifth Amendment's Due Process Clause mandates the

 additional procedural protections.         The district court denied the

 motion in a summary order, finding that the movant-intervenors had

 failed to show that the government would not adequately protect

 their rights.     On appeal, the movant-intervenors contend that the

 district court abused its discretion by denying the motion to

 intervene.    We affirm.

 I.    Applicable Standard of Review

             A district court's denial of a motion to intervene as of

 right under Rule 24(a) is reviewed "through an abuse-of-discretion

 lens."    T-Mobile Ne. LLC v. Town of Barnstable, 969 F.3d 33, 38

 (1st Cir. 2020).     The same "lens" is used for reviewing the denial

 of a motion for permissive intervention under Rule 24(b).                Id.

 But "the abuse-of-discretion standard is not a monolith: within

 it,   abstract   legal   rulings   are   scrutinized    de   novo,   factual

 findings are assayed for clear error, and the degree of deference

 afforded to issues of law application waxes or wanes depending on

 the particular circumstances."       Id.

 II.   Background

             The regulation challenged by the plaintiffs is entitled

 "Nondiscrimination on the Basis of Sex in Education Programs or

 Activities Receiving Federal Financial Assistance," 85 Fed. Reg.

 30,026 (May 19, 2020) (codified at 34 C.F.R. § 106) (the "Rule").

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 It sets standards for how educational institutions that receive

 federal financial assistance must handle student allegations of

 sexual harassment. As relevant here, the Rule defines the standard

 for "sexual harassment" to be used in administrative enforcement

 of Title IX to be generally the same as the standard set by Davis

 v. Monroe County Board of Education, 526 U.S. 629, 651 (1999), for

 private Title IX suits.        See 34 C.F.R. § 106.30(a)(2); 85 Fed.

 Reg. at 30,033 (explaining the reasoning for adopting the Davis

 standard).    The Rule also requires that schools provide additional

 procedural protections to students accused of sexual harassment.

 85 Fed. Reg. at 30,046-55.

             In June 2020, the plaintiffs filed this suit challenging

 various portions of the Rule and its promulgation                under the

 Administrative Procedure Act ("APA") and the Fifth Amendment's

 Equal Protection guarantees.1        They seek an injunction declaring

 the Rule invalid and enjoining its implementation.2 The government


       1The plaintiffs' Equal Protection claim is premised on
 allegations that former Secretary of Education DeVos and other
 members of the Department of Education held discriminatory and
 stereotypical beliefs about women and accordingly singled out
 women for excessively onerous procedures and standards in
 establishing sexual harassment.

       2Similar suits about the Rule have proceeded in the Southern
 District of New York, the District of Maryland, and the District
 of Columbia. New York v. U.S. Dep't of Educ., No. 1:20-cv-4260
 (S.D.N.Y); Know Your IX v. DeVos, No. 1:20-cv-1224 (D. Md.);
 Pennsylvania v. DeVos, No. 1:20-cv-1468 (D.D.C.).      The movants
 asked to intervene in all three cases. The Southern District of
 New York denied intervention. In the District of Maryland, the
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 has opposed the relief sought by the plaintiffs and has challenged

 the plaintiffs' standing, asserted various APA defenses as to each

 claim, and argued that there was no Equal Protection violation.

             The movant-intervenors disagree with the government's

 strategic and policy choice not to argue that the First Amendment

 requires the use of a standard for actionable sexual harassment

 that is at least as narrow as the standard set by Davis and that

 the additional procedural protections for students accused of

 sexual harassment provided by the Rule are required by the Fifth

 Amendment's    Due   Process    Clause.      The   movant-intervenors    thus

 requested    intervention      for   the   purpose   of   presenting    those

 constitutional arguments in addition to the government's non-

 constitutional defenses.       In their motion, the movants argued that

 they were entitled to intervene as of right under Rule 24(a) and

 by the court’s permission under Rule 24(b).

             Before either the plaintiffs or the government filed any

 responses or objections, the district court denied the motion to

 intervene in a summary electronic order.             The order stated, in

 full:

             The motion to intervene is denied as there is
             no adequate showing that the government will
             not   adequately    protect   the    proposed
             intervenors['] rights. The Court will, of


 motion to intervene was denied as moot after the case was dismissed
 without prejudice for lack of standing. The District Court for
 the District of Columbia granted permissive intervention.


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                  course, welcome a brief amicus curiae from the
                  proposed intervenors.

 This interlocutory appeal followed.3                   We held oral argument on

 January 5, 2021.4

 III. Discussion

                  On timely motion, the court must permit anyone
                  to intervene who . . . claims an interest
                  relating to the property or transaction that
                  is the subject of the action, and is so
                  situated that disposing of the action may as
                  a practical matter impair or impede the
                  movant's ability to protect its interest,
                  unless existing parties adequately represent
                  that interest.

 Fed.       R.    Civ.     P.   24(a)(2).     Failure        to    satisfy      any   single

 requirement for intervention as of right under Rule 24(a) – such

 as showing inadequate representation by existing parties – is

 sufficient grounds to deny a request for "intervention as of

 right."         See id.

                  If the requirements of Rule 24(a)(2) are not met, "[o]n

 timely          motion,    the    court    may     permit        anyone   to    intervene

 who . . . has a claim or defense that shares with the main action




        An order denying a motion to intervene is immediately
        3

 appealable. Pub. Serv. Co. of N.H. v. Patch, 136 F.3d 197, 204
 (1st Cir. 1998).

        Between the filing of this appeal and the issuance of this
        4

 opinion, the district court tried the case. The movant-intervenors
 did not file any motion in the district court for leave to file an
 amicus brief raising their legal theory.       The district court
 granted every motion for leave to file an amicus brief that was
 presented to it, accepting nine briefs from various amici.
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 a common question of law or fact."              Fed. R. Civ. P. 24(b)(1)(B).

 Intervention        under    Rule     24(b)     is   known       as   "permissive

 intervention."       Id.

             The movant-intervenors contend that the district court

 abused its discretion by denying their motion to intervene as of

 right on the ground that the government will adequately represent

 their interests.       They also argue that the district court abused

 its discretion by failing to adequately explain its denial of

 permissive intervention, preventing this court from conducting a

 meaningful appellate review.               The plaintiffs respond that the

 district    court     correctly     reasoned     that     the    government   will

 adequately represent the movant-intervenors' interests and that

 this serves as sufficient reason to deny both intervention as of

 right and permissive intervention.

             A.      Intervention as of Right

             In denying the motion to intervene, the district court

 found that the movant-intervenors failed to show that the existing

 defendants, namely, the government, would not adequately represent

 their     claimed     interests.5          Generally,      "an    applicant    for

 intervention     need       only    make    a   minimal     showing    that   the




       5Because we may affirm solely on the ground that the
 government adequately represents whatever interests the movants
 may have in the subject matter of this case, we do not express any
 opinion as to whether the movants have shown that they have an
 interest sufficient to warrant intervention under Rule 24(a).
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 representation afforded by existing parties likely will prove

 inadequate."    Patch, 136 F.3d at 207.         But, in any case, "[a] party

 that seeks to intervene as of right must produce some tangible

 basis to support a claim of purported inadequacy."                Id.

             Furthermore,    "the burden      of persuasion        is ratcheted

 upward" when the movant seeks to intervene as a defendant alongside

 a government entity.      See id.   In those circumstances, "this court

 and a number of others start with a rebuttable presumption that

 the government will defend adequately its action[.]"                    Cotter v.

 Mass. Ass'n of Minority L. Enf't Officers, 219 F.3d 31, 35 (1st

 Cir. 2000).    A successful rebuttal "requires 'a strong affirmative

 showing'    that   the    agency    (or   its    members)    is    not     fairly

 representing the applicants' interests."            Patch, 136 F.3d at 207

 (quoting United States v. Hooker Chems. & Plastics Corp., 749 F.2d

 968, 985 (2d Cir. 1984)).

             The movant-intervenors attempt to make that showing by

 identifying their "interests and goals" purportedly not shared by

 the government.     They contend that while they want to secure broad

 First Amendment and due process rights on college and university

 campuses, the government wants to minimize legal challenges and

 maintain regulatory flexibility.            The movant-intervenors assert

 that these divergent motivations have led them to pursue different

 legal    strategies      than   those     pursued     by    the    government.

 Specifically, the movant-intervenors say that the government has

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  failed to make constitutional arguments that they would make, and

  they suggest that the government has made an argument (that the

  plaintiffs lack standing) that they would not.                  Consequently, the

  movant-intervenors contend, the government's representation is

  inadequate.

                We reject the movant-intervenors' claim.                As explained

  in   Massachusetts    Food     Association      v.    Massachusetts        Alcoholic

  Beverages Control Commission, a movant-intervenors' interest in

  making   an    additional    constitutional          argument    in    defense       of

  government action does not render the government's representation

  inadequate.     197 F.3d 560, 567 (1st Cir. 1999) (rejecting movant-

  intervenors'      argument     that    the     state's     representation        was

  inadequate because of their intent to make an argument under the

  Twenty-First Amendment that was not pursued by the state); see

  also T-Mobile Ne., 969 F.3d at 39 ("[T]he presumption that a

  governmental entity defending official acts adequately represents

  the interests of its citizens applies full-bore, given the Town's

  vigorous,     no-holds-barred     defense      of    its   refusal    to     grant    a

  variance or other regulatory relief to T-Mobile."); Maine v. Dir.,

  U.S. Fish & Wildlife Serv., 262 F.3d 13, 19-20 (1st Cir. 2001)

  (rejecting argument that movants were entitled to intervention

  where    government    could    make     "several      obvious,       more    direct

  arguments . . . in which the [movant and government had] a common

  interest"); Daggett v. Comm'n on Governmental Ethics & Election

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  Practices, 172 F.3d 104, 112-13 (1st Cir. 1999).               Nor is perfect

  identity of motivational interests between the movant-intervenor

  and   the    government      necessary      to   a   finding    of    adequate

  representation.     See Mass. Food Ass'n, 197 F.3d at 567.             And the

  government's putative interests in "regulatory flexibility" and

  minimizing future legal challenges do not create a sufficient case-

  specific    conflict    to   render   the     district   court's     denial   of

  intervention an abuse of discretion.

              For example, in Cotter the court held that the City of

  Boston's defense of its use of racial criteria in promotions for

  law enforcement officers was sufficiently inadequate as to the

  movant minority police officers because the City's interests and

  likely defenses were in conflict with the minority officers'

  interests     and   proposed    defense       that   racial    criteria   were

  appropriate     given     "alleged     deficiencies      in    its    current"

  promotional exams.      219 F.3d at 32-33, 35-36 (emphasis omitted).

  Similarly, in Conservation Law Foundation of New England, Inc. v.

  Mosbacher, the court held that a state agency's representation of

  movant fishing groups was inadequate when the agency raised no

  defense to the suit and agreed to a settlement that subjected the

  movants to more stringent rules than had previously been in effect.

  966 F.2d 39, 44 (1st Cir. 1992).         In contrast, here, the government

  has raised several defenses to the suit that would uphold the Rule,

  while the movant-intervenors would only raise extra constitutional

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  theories    not      in   conflict   with        the   government's    defenses       nor

  requiring additional evidentiary development.

                 The   movants    point       to     International      Paper    Co.     v.

  Inhabitants of the Town of Jay for the supposition that "the

  adverse impact of stare decisis standing alone may be sufficient

  to satisfy the [practical impairment] requirement."                    887 F.2d 338,

  344 (1st Cir. 1989) (alteration in original) (quoting 3B J. Moore,

  Moore’s Federal Practice ¶ 24.07[3], at 24-65 (2d ed. 1987)). From

  this,    the    movants     infer    that    the       district    court   abused     its

  discretion in denying intervention because the judgment they seek

  would set precedent on their preferred constitutional theories

  while    the     judgment      sought       by     the    government       would     not.

  International Paper Co. does not render the district court’s

  decision an abuse of discretion, as the government's success in

  defending the Rule would not foreclose the movants from presenting

  their constitutional arguments in a later and appropriate case.

  See id. ("[I]t was not unreasonable for the district court to

  conclude that a refusal to let Maine intervene would not impair or

  impede     Maine’s        ability    to     protect       its     interest    in     the

  interpretation of its environmental laws.").

                 Moreover, the movants' proposition that the government's

  avoidance       of    constitutional        issues       renders     inadequate       its

  representation of their interest in having those issues addressed

  is inconsistent with the principle of constitutional avoidance.

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  Courts are obliged to avoid rulings on constitutional questions

  when non-constitutional grounds will suffice to resolve an issue.

  Sony BMG Music Ent. v. Tenenbaum, 660 F.3d 487, 511 (1st Cir. 2011)

  (discussing the myriad problems that are likely to arise if a court

  fails to observe the principle of constitutional avoidance and

  vacating   district     court’s     avoidable   ruling    on    constitutional

  issue).    Consistent with that principle, the government made a

  strategic and policy choice to defend the Rule's promulgation on

  non-constitutional grounds.          The movants' putative interest in

  having certain constitutional issues addressed now rather than

  later does not obviate the principle of constitutional avoidance.

  Indeed,    it   would    be   inconsistent      with     the     principle   of

  constitutional    avoidance    to    conclude   that     the    district   court

  abused its discretion in denying an intervention sought to expedite

  a judgment on constitutional questions that could have been avoided

  by limiting the case to the issues as framed by the plaintiffs and

  government.     Accordingly, the district court did not abuse its

  discretion in denying intervention as of right.                See Fed. R. Civ.

  P. 24(a)(2).6




       6 To the extent the movants contend that the district court
  abused its discretion by summarily disposing of the motion for
  intervention as of right, that argument is foreclosed by T-Mobile
  Northeast. 969 F.3d at 38.
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             B.    Permissive Intervention

             The movant-intervenors assert that, even if they are not

  entitled to intervene as of right, the district court should have

  permitted them to intervene under Rule 24(b).            They argue that the

  district court failed to adequately explain its reasoning for

  denying the motion to intervene, such that this court cannot

  meaningfully review the order.7

             This court's precedents foreclose the movants' position.

  The court may affirm a district court's ruling for any reason

  supported by the record.      Miles v. Great N. Ins. Co., 634 F.3d 61,

  65 n.5 (1st Cir. 2011).       That holds true even in the context of

  review for abuse of discretion, as this court offers deference to

  the district court's decisionmaking to the extent its "findings or

  reasons can be reasonably inferred."          Cotter, 219 F.3d at 34; see

  also Ungar v. Arafat, 634 F.3d 46, 51 (1st Cir. 2011) ("The

  district court denied the motion to intervene in a bench decision.

  It   did   not   subdivide     its     analysis   into     discrete   silos.

  Nevertheless, its findings and reasoning can easily be inferred

  from the record.").        And, to the extent the district court's

  reasons are not stated or cannot be reasonably inferred, "abuse-




       7 The movants also reiterate their belief that the district
  court erred in finding that the government will adequately
  represent their interests, and they contend that the district court
  therefore abused its discretion if it relied on that ground to
  deny permissive intervention.
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  of-discretion review simply becomes less deferential because there

  is nothing to which to give deference."            See T-Mobile Ne., 969

  F.3d at 38 (internal quotation marks omitted).           But even if "the

  district court summarily denies a motion to intervene, the court

  of appeals must review the record as a whole to ascertain whether,

  on the facts at hand, the denial was within the compass of the

  district   court's    discretion."        Id.   (affirming   summary   order

  denying motion to intervene).

             T-Mobile Northeast forecloses the movants' suggestion

  that the district court abused its discretion by not adequately

  considering their arguments for permissive intervention or by

  summarily denying the motion.       Id.   Moreover, to conclude that the

  district court did not abuse its discretion in denying the motion,

  we need not go beyond the express reasons the district court gave

  for denying intervention. Though its order was terse, the district

  court’s reasoning need not be divined: the movant-intervenors did

  not show that the government would not adequately protect their

  interests and the amicus procedure provides sufficient opportunity

  for them to present their view.8 That reasoning, which as discussed




       8 Of course, a district court should not consider arguments
  raised by amici that go beyond the issues properly raised by the
  parties. E.g., Sindi v. El-Moslimany, 896 F.3d 1, 31 n.12 (1st
  Cir. 2018).   And, as we noted, the principle of constitutional
  avoidance requires courts to avoid ruling on constitutional
  questions if the issues can be resolved on non-constitutional
  grounds. Sony BMG Music Ent., 660 F.3d at 511.
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  above    supports    denial     of     intervention      as   of    right,    is   also

  sufficient      on   this     record    to     sustain    the      district   court's

  discretion as to permissive intervention.                     See id. at 41 ("To

  begin,    a   district      court    considering      requests       for   permissive

  intervention should ordinarily give weight to whether the original

  parties to the action adequately represent the interests of the

  putative      intervenors.");        Mass.   Food   Ass'n,      197    F.3d   at   568

  (affirming     denial    of    motion    for     permissive     intervention       when

  "[t]he district court reasonably concluded that the Commonwealth

  was adequately representing the interests of everyone concerned to

  defend the statute and that any variations of legal argument could

  adequately be presented in amicus briefs").

  IV.   Conclusion

                The district court's order denying the Foundation for

  Individual Rights in Education, Independent Women's Law Center,

  and Speech First, Inc.'s motion to intervene is AFFIRMED.




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